                      Case 2:20-mc-01572-DM
AO 106 (Rev. 04/10) Application for a Search Warrant            Document 1 Filed 06/03/20 Page 1 of 17


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________ District ofof
                                                                             Louisiana
                                                                               __________               6($/('
             In the Matter of the Search of                           )
         (Briefly describe the property to be searched                )
          or identify the person by name and address)                 )        Case No. 20-mc-1572
   The property known as: 2021 East Beauregard Street,                )
  Chalmette, LA 70043, including a detached garage/shed               )
          behind the main house on the property                       )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the             Eastern                District of          Louisiana               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               
               u evidence of a crime;
               
               u contraband, fruits of crime, or other items illegally possessed;
                
                u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                        Offense Description

        18 U.S.C. § 641                                                Theft of Government Funds

          The application is based on these facts:
        See attached Affidavit.
          
          u Continued on the attached sheet.
          u Delayed notice of       days (give exact ending date if more than 30 days:                                  ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                        /s/ Stephen A. Marchese, Jr.
                                                                                              Applicant’s signature

                                                                               Special Agent Stephen A. Marchese, Jr., SSA/OIG
                                                                                              Printed name and title

Sworn to before me and signed in my presence.

Date:       June 3, 2020
                                                                                                Judge’s signature

City and state: New Orleans, Louisiana                                           Honorable Karen Wells Roby, U.S. Magistrate Judge
                                                                                              Printed name and title
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF THE                              *        MISC. NO. 20-mc-1572
 APPLICATION FOR A SEARCH
 WARRANT FOR:                                      *
                                                            FILED UNDER SEAL
 2021 EAST BEAUREGARD STREET                       *
 CHALMETTE, LA 70043,
 INCLUDING A DETACHED                              *
 GARAGE/SHED BEHIND THE MAIN
 HOUSE ON THE PROPERTY                             *

                                            *      *    *

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

I, Stephen A. Marchese, Jr., being first duly sworn, depose and state the following:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for a

residence located at 2021 East Beauregard Street, Chalmette, LA, 70043. Investigative

efforts, including physical surveillance, have identified the location as a light sided two story,

slightly raised home with a shingle roof, affixed with black numbers 2120 to the left of the front

entrance door and a light colored detached garage/shed behind the main house on the property, as

more fully described in Attachment A to this affidavit, which is attached hereto, and fully

incorporated herein by reference.

       2.      I am a Special Agent (SA) with Office of the Inspector General - Social

Security Administration (SSA/OIG), assigned to the Baton Rouge Office of the Dallas Field

Division, and has been so employed since February of 2019. I have been employed in Federal

Law Enforcement since 2008. As part of my official duties, I have conducted and participated in

investigations of crimes that involved financial fraud, and identity theft which included, but were
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not limited to: Social Security fraud, money laundering, embezzlement, concealment of material

facts, false statements, identity theft, in addition to fraud associated with identification

documents, mail fraud, and forgery. I have received specialized training in the enforcement of

these statutes. I have also testified in judicial proceedings and presented for prosecution

violations of the above Titles. I have received training in investigations and evidence collection,

including collection and preservation of electronic evidence, at the Federal Law Enforcement

Training Center (FLETC) in Glynco, Georgia.

       3.      As part of my duties as an SSA/OIG Special Agent, I have gained experience

conducting criminal investigations involving these matters, in federal violations, and have

participated in the execution of several search warrants in such investigations.

       4.      The statements contained in this affidavit are based on my experience, training,

and background as an SSA/OIG Special Agent, as well as information provided to me by other

law enforcement officers involved in this investigation. Based on the included information, your

affiant believes there is probable cause for a search warrant for the premises described in

Attachment A of this affidavit.

       5.      Specifically, I have probable cause to believe that presently and/or at the time of

this warrant’s execution, property which is evidence relating to the theft of government funds,

aggravated identity theft, and access device fraud will be found inside the residence described in

Attachment A to this affidavit. The items I have reason to believe will be found inside the

residence constitute evidence of the commission of federal offenses relating to Theft of

Government Funds, in violation of Title 18, United States Code, Section 641, to offenses

involving Aggravated Identity Theft, in violation of Title 18, United States Code, Section

1028(a), and involving Access Device fraud, in violation of Title 18, United States Code, Section



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4106. Such items are evidence, contraband, the fruits of crime and things otherwise criminally

possessed, and property designed or intended for use, or which is or has been used, as the means

of committing a criminal offense. These items are described in Attachment B to this affidavit,

which is attached hereto, and incorporated herein.

        6.      This investigation also concerns alleged violations of Title 42, United States

Code, Section 408(a)(7)(B) - certain activities relating to the Misuse of a Social Security

Number.

        7.      Since this affidavit is being submitted for the limited purpose of securing a search

warrant, I have not included each and every fact known to me concerning this investigation. I

have set forth only the facts that I believe are necessary to establish probable cause that

violations of Title 18, United States Code, Sections 641, 1028(a) and 4106 have been committed,

and that

                a.      property that constitutes evidence of the commission of a criminal
                        offense;
                b.      contraband, the fruits of crime, and things otherwise criminally possessed;
                        and
                c.      property designed and intended for use, and which has been used as a
                        means of committing a criminal offense;

is located at 2021 East Beauregard Street, Chalmette, LA, 70043, described in Attachment A

of this affidavit. The property to be seized pursuant to this warrant is described in Attachment B

to this affidavit.

                     THE INVESTIGATION- FACTUAL BACKGROUND

        8.      An anonymous source reported to the Social Security Administration (SSA),

Office of the Inspector General (OIG), Fraud Hotline that Title II - Disability Insurance Benefit

(DIB) program participant Julius Cummins Jr, Social Security number (SSN) xxx-xx-0493, had

died in 2013; however, funds were still be issued by the SSA on behalf of Cummins.

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       9.      The SSA confirmed Cummins death had never been reported to the agency and

payments were continuing in the monthly amount of $1,299. Unaware of Cummins’ death until

March of 2020, the SSA erroneously released an estimated $100,000.00 in U.S. government

funds from September 2013 and continuing to a Hancock Whitney Bank account.

       10.     A State of Louisiana, Certificate of Death, file no. 2013-032-00862, recorded

Julius Smith Cummins Jr died on August 5, 2013, in Chalmette, Louisiana (St. Bernard Parish),

at his residence. Cummins’ residential address was listed as 2021 E. Beauregard Street,

Chalmette, Louisiana, 70043. At the time of death, Cummins was identified as being a Truck

Driver. The informant of record listed on the death certificate was Jaime KILLIAN. KILLIAN

reported her relationship to the deceased as the daughter of Cummins. KILLIAN also reported

her home address of 2021 E. Beauregard Street, Chalmette, Louisiana, 70043.

       11.     I consulted with Sherry Palmer, Senior Bank Protective Services Coordinator,

Hancock Whitney Bank, (225) 667-7069, in regards to any information that could be provided

regarding Cummins’ bank account of record with the SSA - checking account C715327615, to

determine if the erroneously released U.S. government funds were available for recovery. I

provided Palmer with a photocopy of the Certificate of Death associated with Cummins.

Palmer subsequently reported that the Hancock Bank account was in the name “Julius S.

Cummins Jr,” SSN xxx-xx-0493, the deceased was the only individual authorized to access the

account, and the erroneously released U.S. government funds were not available for recovery.

Palmer advised additional records could be obtained via Grand Jury Subpoena.

       12.     On March 27, 2020, AUSA Brian Klebba issued a Grand Jury subpoena for

service on Hancock Whitney Bank, c/o CT Corporation, 3867 Plaza Tower Drive, Baton Rouge,




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Louisiana 70815, for records associated with account C715327615, for the period August 1,

2013 through March 30, 2020.

       13.     A SSA - NUMIDENT indexed associated with SSN xxx-xx-0493 confirmed the

SSA assigned the identifier to Julius S. Cummins Jr, date of birth 07/22/1944, reportedly born in

New Orleans, Louisiana to Josephine T. Papa (mother) and Julius S. Cummins (father).

       14.     A SSA - Master Beneficiary Record (MBR) index associated with Cummins

showed he originally filed Title XVI - Supplemental Security Income Disability (SSID) program

claim in October of 2003. SSA approved Cummins claim in 2003 and in July of 2010, SSA

converted Cummins to Title II - Disability Insurance Benefit (DIB) program. Cummins received

the first payment of DIB in July of 2010.

       15.     A SSA - NUMIDENT indexed associated with SSN xxx-xx-1955 confirmed the

SSA assigned the identifier to Jaime Marie KILLIAN, date of birth 05/21/1980, reportedly born

in Houston, Texas to Tammy L. Eschete (mother) and Michael J. Killian (father). A SSA -

Detailed Earnings Index (DEQY) associated with Jaime Marie KILLIAN for years 2013 through

2020, showed no reported earnings.

       16.     A commercial database index identified Julius Smith Cummins Jr, SSN xxx-xx-

0493, and associated Cummins with residential address 1924 Suzi Drive, St Bernard, Louisiana

70085. The address listed on the death certificate - 2021 E. Beauregard Street, Chalmette,

Louisiana, 70043 – was not associated with Cummins.

       17.     A commercial database index identified Jaime KILLIAN, SSN xxx-xx-1955, date

of birth 05/21/1980 and associated KILLIAN with residential address 2021 E. Beauregard Street,

Chalmette, Louisiana, 70043, the address listed on the death certificate. KILLIAN has been

associated with this address since June of 2006 to present.



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       18.      A commercial database also showed the current residents at 2021 E. Beauregard

Street, Chalmette, Louisiana, 70043, as Jaime Marie KILLIAN, Douglas Anthony Greer Jr and

Edward Charles Killian.

       19.      A commercial database also listed KILLIAN as the owner of the property, 1924

Suzi Drive, St Bernard, Louisiana 70085. This is the address Cummins’ last address of record

with the SSA.

       20.      A Louisiana Office of Motor Vehicle (LADMV) index identified Jaime Marie

KILLIAN, date of birth 05/21/1980, SSN xxx-xx-1955, 2021 E. Beauregard Street, Chalmette,

Louisiana, 70043. KILLIAN was identified by her Louisiana Driver’s License ID card

008020626.

       21.      Louisiana Office of Motor Vehicle (LAOMV) indices confirmed Jaime Marie

KILLIAN has several vehicles registered in her name:

                      x   1941 Chevrolet 2D, VIN AG7374, Color BLUE

                      x   2002 Jeep, VIN 1J4GK48K62W315451, Color SILVER

                      x   2004 Chevrolet 4D, VIN 1G1ND52F14M632182, Color SILVER

                      x   2004 Ford Mustang, VIN 1FAFP40474F110875, Color BLUE

                      x   2006 Pontiac 2D, VIN 1G2ZH158164189686, Color GREY

       22.      A National Crime Information Center (NCIC) index identified Jaime Marie

KILLIAN, by Federal Bureau of Investigation (FBI) no. KM2407LN1 and State Identification

(SID) no. LA0003054836. A review of the associated records showed KILLIAN arrested on

06/25/2018, for Misdemeanor Prohibited Acts/Drug Paraphernalia by the St Bernard Parish

Sheriff’s Office.




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        23.      On April 27, 2020, Sherry Palmer, Senior Bank Protective Services Coordinator,

Hancock Whitney Bank, notified me that the subpoena records were not ready yet, but that she

could provide me video and still shots of recent ATM activity. The still shots showed 4 (four)

ATM withdrawals from the same location, 3131 Paris Rd, Chalmette, LA 70043:

                        x   12/18/2019, 6:07pm, Blue Ford F-150 pickup

                        x   01/06/2020, 3:24pm, Blue Ford F-150 pickup

                        x   02/08/2020, 3:30pm, Blue Ford Mustang

                        x   03/03/2020, 5:22pm, Blue Ford F-150 pickup

        24.      From previous Database checks, I knew that Jamie KILLIAN owned a Blue Ford

Mustang that matched one of the vehicles seen in the video associated with an individual

withdrawing funds from Cummins account via an ATM. Since the video did not clearly show a

license plate number, I attempted to locate KILLIAN’s vehicle at her address on record.

        25.      Continuing on April 27, 2020, Surveillance was conducted at 2021 East

Beauregard Street, Chalmette, LA, 70043, that revealed that the residence was a light sided

two story, slightly raised home with a shingle roof and a light colored detached garage/shed

behind the main house on the property. I observed several vehicles parked on the side and in

front of the residence. Directly parked in front of the residence, on the street, was a blue Ford

Mustang, Louisiana License Plate # 901DMU. This vehicle matched one of the vehicles seen on

ATM video. As previously noted, a Louisiana Office of Motor Vehicle (LAOMV) index

identified Jamie KILLIAN as the registered owner of a 2004 Ford Mustang, VIN

1FAFP40474F110875, Color BLUE. I took a picture of the vehicle in front of the house and the

license plate.




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       26.     I also observed a Blue Ford F-150 parked in the driveway of 2021 E. Beauregard

Street, Chalmette, Louisiana, 70043, that matches a similar vehicle seen on ATM video, in which

the driver withdrew U.S. government funds from Cummins Hancock Whitney Bank account.

       27.     As I was attempting to take a picture of the vehicle, a woman walked out the back

door of the residence. From a previous LAOMV and criminal history indices, I positively

identified the woman from her St. Bernard Parish Sheriff's Office booking photo as Jamie

KILLAN. I observed KILLIAN enter the blue Ford F-150 and drive out of the driveway towards

my position. I was unable to take a picture of the license plate, without disclosing my position. I

did happen to notice extensive damage to the front of the truck, (Front bumper missing).

       28.     I continued the surveillance of the Blue Ford F-150, in an attempt to take a picture

of the license plate. I followed the Blue Ford F-150 and observed vehicle parked at the Meraux

Food Store, 2004 Paris Rd, Chalmette, LA, 70043. KILLIAN exited the driver’s side of the

vehicle and entered the store. I took a picture of the vehicle in front of the Meraux Food Store

and the license plate. The Louisiana License plate# Y154141 did not match one of KILLIAN’s

known registered vehicles.

       29.     A Louisiana Office of Motor Vehicle (LAOMV) index revealed the 2002 Blue

Ford F-150, 4D, VIN 1FTRX17W42NC080D4, Louisiana License plate# Y154141, was

registered to Douglas A. Greer Jr.

       30.     From a previous database search, Douglas Anthony Greer Jr. resided at 2021 E.

Beauregard Street, Chalmette, Louisiana 70043, along with KILLIAN.

       31.     On May 4, 2020, I consulted with Sherry Palmer, Senior Bank Protective Services

Coordinator, Hancock Whitney Bank, (225) 667-7069, in regards to current bank account

activity associated with deceased Julius Cummins Jr.'s account - checking account C715327615.



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Palmer provide me with video and still images of recent ATM and debit card purchase activity.

Palmer identified debit card number, Visa 4584-5320-0201-5442, as being associated with the

account.

       32.     Palmer informed me that on May 1, 2020, Social Security Treasury funds totaling

$1,299 were deposited into Julius Cummins Jr. Hancock Whitney checking account.

Immediately following the deposit, there were two (2) withdrawals from the account via check

card purchases:

               x    5/1/2020, 15:46, $202.50, Ponstein’s Food Mart, 3523 Paris Road,
                    Chalmette, LA

               x    5/2/2020, 15:44, $139.74, Walmart, 8101 West Judge Perez Drive,
                    Chalmette, LA

       33.        Continuing on May 5, 2020, I conducted an unscheduled surveillance of

KILLIAN’s residence, 2021 E. Beauregard Street, Chalmette, Louisiana, 70043, I observed

several vehicles parked on the side and in front of the residence. Directly parked in front of the

residence, on the street, was a blue Ford Mustang, Louisiana License Plate # 901DMU. This

vehicle matched one of the vehicles seen on ATM video.

       34.     I also observed a Blue Ford F-150 parked in the driveway of 2021 E. Beauregard

Street, Chalmette, Louisiana, 70043, that matched a similar vehicle seen on ATM video. I took a

picture of the vehicle in the driveway of the house. I did observe extensive damage to the front of

the truck, (Front bumper missing).

       35.     I contacted Jaime Breithaupt, Walmart Store# 909, Asset Protection Assistant

Store Manager (APASM), located at 8101 West Judge Perez Drive, Chalmette, LA, (985) 520-

2772. APASM Breithaupt assisted me by attempting to find video of the purchase made using




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Julius Cummins debit card at 15:44, on 5/2/2020, for $139.74. APASM Breithaupt was able to

find and provide me with the transaction receipt and located the video of the purchase.

       36.     On the video, I could clearly see a White/Female matching the description of

KILLIAN, checking out on Self-Check-out register #49. KILLIAN could be seen on video,

paying her transaction with 3 (three) one hundred dollar bills and paying the remainder of the

balance with a debit card. KILLIAN was also shown entering the debit card PIN number.

KILLIAN left the store and walked to a Blue Ford F-150 (front bumper missing). The transaction

receipt showed the last four digits of the debit card used for the purchase as 5442. This also

matched Julius Cummins Jr.’s - checking account C715327615, Visa 4584-5320-0201-5442.

       37.     I contacted Neil Ponstein, Owner of Ponstein’s Food Mart, located at 3523 Paris

Road, Chalmette, LA, (504) 267-5509. Ponstein assisted me by attempting to find video of the

purchase made using Julius Cummins debit card at 15:46, 5/1/2020, for $202.50. Ponstein was

able to locate video of the transaction and relayed that the transaction had occurred on the store’s

on ATM machine.

       38.     Video provided by Ponstein showed a white female matching the KILLIAN’s

description, entering in the debit card PIN number and then receiving funds from the ATM.

KILLIAN was then observed making a purchase at the counter of the food store.

       39.     On May 5, 2020, I received additional bank information from Sherry Palmer

regarding activity on the account (including two ATM withdrawals from Hancock Whitney

Bank, including video and photos) from May 1, 2020, continuing:

               x   5/2/2020, 06:02, $400.00, Paris Rd Hancock Whitney Bank

               x   5/4/2020, 17:34, $100.00, Paris Rd Hancock Whitney Bank




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       40.     The still images provided showed two ATM withdrawals from the same location,

Hancock Whitney Bank, 3131 Paris Rd, Chalmette, LA 70043:

               x   5/02/2020, 06:02, Blue Ford F-150 pickup

               x   5/04/2020, 17:34, Blue Ford Mustang, (a white female, appearing to
                   be KILLIAN, exited the vehicle on 5/4/2020 to use the ATM)

       41.     From previous surveillance and Database checks, I know that Jamie KILLIAN

drove a Blue Ford F-150 (front bumper missing), that I had observed parked in the driveway of

2021 E. Beauregard Street, Chalmette, Louisiana, 70043. The Blue Ford F-150, was registered to

Douglas A. Greer Jr. From a previous Accurint database search, Douglas Anthony Greer Jr.

resided at 2021 E. Beauregard Street, Chalmette, Louisiana 70043, with KILLIAN.

       42.     From previous surveillance and Database checks, I knew that Jamie KILLIAN

owned the Blue Ford Mustang pictured in the video withdrawing funds from Cummins’ account

via the ATM.

       43.     In consideration of the foregoing, I respectfully request that this Court issue a

warrant authorizing the search of 2021 East Beauregard Street, Chalmette, LA, 70043, more

fully described in Attachment A of this affidavit, for the items, materials, and records more

specifically identified in Attachment B of this affidavit.

       44.     It is further respectfully requested that this Court issue an Order sealing, until

further order of this Court, all papers submitted in support of this Application, including the

Application, Affidavit, and Search Warrant, and the requisite inventory notice (with the

exception of one copy of the warrant and the inventory notice that will be left at the residence

located at 2021 East Beauregard Street, Chalmette, LA, 70043). Sealing is necessary because

the items and information to be seized are relevant to an ongoing investigation and premature




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disclosure of the contents of this affidavit and related documents may have a negative impact on

this continuing investigation and may jeopardize its effectiveness.

       Further affiant sayeth not.

                                             Respectfully submitted,


                                              /s/ Stephen A. Marchese, Jr.
                                             Stephen A. Marchese, Jr.
                                             Special Agent
                                             Social Security Administration
                                             Office of the Inspector General




Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned judicial
officer has on this date considered the information communicated by reliable electronic means in
considering whether a complaint, warrant, or summons will issue. In doing so, I have placed the
affiant under oath, and the affiant has confirmed that the signatures on the complaint, warrant, or
summons and affidavit are those of the affiant, that the document received by me is a correct and
complete copy of the document submitted by the affiant, and that the information contained in
the complaint, warrant, or summons and affidavit is true and correct to the best of the affiant’s
knowledge.

Subscribed and sworn to before me on
this 3rd day of June, 2020
in New Orleans, Louisiana.



HONORABLE KAREN WELLS ROBY
UNITED STATES MAGISTRATE JUDGE




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                                       ATTACHMENT A

                    DESCRIPTION OF PREMISES TO BE SEARCHED


2021 EAST BEAUREGARD STREET, CHALMETTE, LA, 70043, INCLUDING A

DETACHED GARAGE/SHED BEHIND THE MAIN HOUSE ON THE PROPERTY is

described as a light sided, two story, slightly raised home with a shingle roof, affixed with black

numbers 2021 to the left of the front entrance door and a light colored detached garage/shed

behind the main house on the property. The premise to be searched includes all rooms, attics,

closed containers, and other places therein, and the surrounding grounds, under the control of the

occupants of 2021 East Beauregard Street, Chalmette, LA, 70043. The premises to be

searched also include any vehicles under the control of the occupants of the residence, which

may contain any of the items of evidence described in Attachment B hereto.
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                                       ATTACHMENT B

                       ITEMS TO BE SEARCHED FOR AND SEIZED

This affidavit is in support of an application for a warrant to search the premises known as 2021

East Beauregard Street, Chalmette, LA, 70043, which is more specifically identified in

Attachment A, hereto, including any property which is evidence relating to the theft of

government funds, aggravated identity theft, and access device fraud or other devices located

therein that can be used to store information and/or connect to the Internet, for records and

materials evidencing a violation of Title 18, United States Code, Section 641; Title 18, United

States Code, Section 1028(a); and Title 18, United States Code, Section 4106, as more

specifically identified below:

       1.      Items include but are not limited to, payroll documents, financial documents such
               as tax returns, bank records, safety deposit box records, cancelled checks, and
               other records of income and expenditure, debit cards, check cards, credit cards,
               receipts, record books, diaries, correspondence, notes pertaining to income related
               actives.

       2.      Documents, records, books, receipts, bills, etc., which are evidence and fruits of
               certain aggravated identity theft and access device fraud statutes.

       3.      Social Security Administration documents.

       4.      Any and all records and materials, in any format and media (including, but not
               limited to, Books, records, receipts, bank statements, envelopes, letters, papers, e-
               mail, chat logs and electronic messages, etc.), evidencing the obtaining, secreting,
               transfer and or concealment of assets and the secreting, transfer, concealment and
               or expenditure of money.

       5.      Currency and other valuables.

       6.      Representative handwriting samples.

       7.      All Bank statements, deposit slips, withdrawal slips, and cancelled checks for any
               and all bank accounts, including all funds on deposits such as certificates of
               deposit and money market accounts., etc., which would tend to show a fraudulent
               intent or any elements of the crime of false pretense or embezzlement.
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8.    Vehicle Records.

9.    Any address/telephone books reflecting names, addresses, and telephone numbers
      of persons named but not limited to said persons.

10.   Evidence of any online banking account, e-mail, and user login and passwords
      for such service.

11.   Records evidencing occupancy or ownership of the premises described above,
      including, but not limited to, utility and telephone bills, mail envelopes, or
      addressed correspondence.

12.   Personal identifications.

13.   Any and all items capable of storing digital files and images, including, but not
      limited to, CDs, DVDs, thumb drives, cellular telephones, iPads, iPodTouch, flash
      drives, mobile electronic devices, and multimedia cards.

14.   Any and all documentation to show who lives at the residence.




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